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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                      PORTLAND DIVISION
JESUSA LLANES,
                                                                        Case No. 3:18-cv-00267-SB
                                         Plaintiff,

                        v.                                    DECLARATION OF ANDREA
                                                               ZALEWSKI IN SUPPORT OF
ANDREA ZALEWSKI, an individual, and                    DEFENDANTS ANDREA ZALEWSKI’S
SILVER RIDGE ADULT FOSTER CARE                         AND SILVER RIDGE ADULT FOSTER
HOME LLC, an Oregon limited liability                    CARE HOME LLC’S MOTION FOR
company,                                                      SUMMARY JUDGMENT AND
                                                             MEMORANDUM IN SUPPORT
                                      Defendants.




       I, Andrea Zalewski, declare:
       1.     I am one of the defendants in this matter. The following statements are true and
correct and, if called upon, I could competently testify to the facts averred herein.
       2.     I own Silver Ridge Adult Foster Care Home LLC (“Silver Ridge”). I do not own
the property or house in which Silver Ridge operates. Silver Ridge is an adult foster care home

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ANDREA ZALEWSKI’S AND SILVER RIDGE ADULT FOSTER CARE HOME LLC’S
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that provides room and board for its five residents. Silver Ridge also provides meals, general
housework, and reminders to take medications to its residents.
       3.     Here is a photo of Silver Ridge—it is the house with the black shutters.




       4.     Oregon classifies Silver Ridge as a Class 2 foster care facility. The State determines
the class of foster care facility by the resident’s impairments in the activities of daily living
(“ADL”).1 The six ADLs refer to everyday functions: eating/nutrition, dressing, personal
hygiene, toileting, mobility, and behavior management. Class 2 facilities can take residents who
need assistance in any ADLs but cannot take residents who require full assistance in more than
three ADLs. There is no requirement that a Class 2 facility, such as Silver Ridge, employ any
type of medical professional.

       1
         Oregon Department of Human Services, Overview of Adult Foster Home Program,
available at https://www.oregon.gov/DHS/PROVIDERS-PARTNERS/LICENSING/APD-
AFH/Pages/Overview.aspx (last visited Apr. 26, 2019).
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       5.     Silver Ridge does not offer any medical services. It does not employ any doctors,
nurse practitioners, registered nurses, or other similar medical professions. I am a licensed
practical nurse (“LPN”), but I do not use my LPN skills at Silver Ridge. Residents must leave the
facility to receive medical, psychiatric, and dental treatment.
       6.     Silver Ridge is a small business that operates only in Oregon. I registered it as a
limited liability company with the Oregon Secretary of State in 2009.2 The business makes
approximately $180,000 in gross income per year entirely from monthly payments made by its
five residents.
       7.     I own and operate Silver Ridge. I am the sole owner of the business, but do not own
the house. I operate the business with only one other employee, a Resident Manager. In 2014, I
hired Jesusa Llanes as the Resident Manager.
       8.     Because of the unpredictable nature of a Resident Manager’s hours, it is nearly
impossible to track hours worked. In addition, it would be cost prohibitive to pay an hourly rate.
As a result, I have always structured that role as a salaried position.
       9.     While Llanes was employed, I took my role as an employer seriously, attempting to
follow all laws I thought applicable. Before, during, and after Llanes’s employment I worked
with the Bureau of Labor and Industries (“BOLI”) to ensure I was and am compliant with
Oregon’s wage and hour laws. Silver Ridge does not have a dedicated human resources
department. I was unaware that federal wage and hour laws differed from state laws.
      10.     Llanes worked as Silver Ridge’s Resident Manager from 2014 to 2017. Her duties
included laundry, meal preparation, assistance with ADLs, and document when medication was
administered to patients. She also bought food and household basics from local stores.
      11.     Llanes did not inform me that her boyfriend Dan Gallagher was living at Silver
Ridge with her. When I found out, I tried to evict Llanes.




        2
         See http://egov.sos.state.or.us/br/pkg_web_name_srch_inq.show_detl?p_be_rsn=
1372073&p_srce=BR_INQ&p_print=FALSE.
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                      ATTORNEY CERTIFICATE OF SERVICE

        I hereby certify that on May 1, 2019, I have made service of the foregoing
DECLARATION OF ANDREA ZALEWSKI IN SUPPORT OF DEFENDANTS ANDREA
ZALEWSKI’S AND SILVER RIDGE ADULT FOSTER CARE HOME LLC’S MOTION
FOR SUMMARY JUDGMENT AND MEMORANDUM IN SUPPORT on the party/ies
listed below in the manner indicated:

Jon M. Egan                                          U.S. Mail
Jon M. Egan, PC                                      Facsimile:
547 Fifth Street                                     Hand Delivery
Lake Oswego, OR 97034-3009                           Overnight Courier
                                                     Email:
                                                     Electronically via USDC CM/ECF system

      DATED this 30th day of April, 2019.



                                              s/ Vivek Kothari
                                            Vivek Kothari, OSB #182089
                                            Attorney for Defendants




CERTIFICATE OF SERVICE
